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                             UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF UTAH

 CHARLES CLEMENT,                                      Case No.: 2:24-cv-00824-HCN

                                                       COMPLAINT FOR VIOLATION
            Plaintiff,
                                                       OF FAIR CREDIT REPORTING
 v.                                                    ACT (15 U.S.C. § 1681 et seq.) and
 JEFFERSON CAPITAL SYSTEMS, LLC;                       FAIR DEBT COLLECTION
 TRANSUNION, LLC; and EQUIFAX                          PRACTICES ACT (15 U.S.C. § 1692
 INFORMATION SERVICES LLC,                             et seq.)

            Defendants.


                                  I.          INTRODUCTION

       1.        This action arises out of Defendants’ violations of the Fair Credit Reporting Act

 (“FCRA”), 15 U.S.C. § 1681 et seq., and the Fair Debt Collection Practices Act (“FDCPA”),

 15 U.S.C. § 1692 et seq., whereby Plaintiff discovered inaccurate information reporting on his

 consumer credit reports, disputed that inaccurate information, and Defendants willfully or

 negligently refused to correct the inaccurate information on Plaintiff’s consumer credit reports,

 thereby damaging Plaintiff.

                                       II.         PARTIES

       2.        Plaintiff is, and was at all times hereinafter mentioned, a resident of Salt Lake

 County , State of Utah.

       3.        At all times pertinent hereto, Plaintiff was a “consumer” as that term is defined

 by 15 U.S.C. §1681a(c).
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      4.      Defendant, Jefferson Capital Systems (“JCS”), is, and at all times relevant hereto

was, a collections institution regularly doing business in the State of Utah.

      5.      At all times pertinent hereto, Defendant JCS was a “person” as that term is defined

in 15 U.S.C. §1681a(b) and also a “furnisher” of credit information as that term is described in

15 U.S.C. §1681s-2 et seq.

      6.      JCS is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

      7.      Defendant, TransUnion, LLC, (“TransUnion”), is a credit reporting agency,

licensed to do business in Utah.

      8.      Defendant TransUnion is, and at all times relevant hereto was, regularly doing

business in the State of Utah.

      9.      Defendant, Equifax Information Services LLC (“Equifax”), is a credit reporting

agency, licensed to do business in Utah.

      10.     Defendant Equifax is, and at all times relevant hereto was, regularly doing

business in the State of Utah.

      11.     Equifax and TransUnion are regularly engaged in the business of assembling,

evaluating, and disbursing information concerning consumers for the purpose of furnishing

consumer reports, as defined in 15 U.S.C. §1681(d), to third parties.

      12.     Equifax and TransUnion furnish such consumer reports to third parties under

contract for monetary compensation.

      13.     At all times pertinent hereto, Defendants Equifax and TransUnion were each a

“person” and “consumer reporting agency” as those terms are defined by 15 U.S.C. §1681a(b)

and (f).

                         III.         JURISDICTION AND VENUE

      14.     This Court has jurisdiction over this action pursuant to 15 U.S.C. § 1681p, 15

U.S.C. § 1692k(d), and 28 U.S.C. § 1331.




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      15.     Venue is proper in this district pursuant to 28 U.S.C. §1391(b); and as the Plaintiff

resides in and the injury occurred in Salt Lake County, Utah; and as Defendants do business in

the State of Utah.

      16.     Personal jurisdiction exists over Defendants as Plaintiff resides in the State of

Utah; Defendants have the necessary minimum contacts with the State of Utah; and this suit

arises out of specific conduct with Plaintiff within the State of Utah.

                          IV.          FACTUAL ALLEGATIONS

      17.     Plaintiff is a consumer who is the victim of inaccurate reporting by Defendants

JCS, Equifax, and TransUnion (collectively, “Defendants”), and has suffered particularized and

concrete harm.

      18.     Defendants Equifax and TransUnion are two of the largest consumer reporting

agencies (“CRAs”) as defined by 15 U.S.C. §1681a(f).

      19.     The CRAs’ primary business is the sale of consumer reports (commonly referred

to as “credit reports”) to third parties and consumers.

      20.     Defendants Equifax and TransUnion have a duty, under the FCRA, to follow

reasonable procedures to ensure that the consumer reports they sell meet the standard of

“maximum possible accuracy.” 15 U.S.C. §1681e(b).

      21.     The debt account in question arises from a transaction in which the money,

property, insurance, or services that are the subject of the transaction were incurred primarily

for personal, family, or household purposes.

      22.     Defendant JCS was assigned the debt after it was allegedly in default.

      23.     Defendant JCS uses instrumentalities of interstate commerce or the mails in a

business the principal purpose of which is the collection of any debts.

      24.     Defendant JCS regularly collects or attempts to collect, directly or indirectly,

debts once owed or due, or once asserted to be owed or due.




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      25.    On or around July 2024, Plaintiff discovered Defendant JCS was erroneously

reporting a JCS account (the “Account”) as having a past due balance on Plaintiff’s Equifax

and TransUnion consumer reports.

      26.    JCS listed the original creditor for the Account as Sprint, a wireless phone service

provider.

      27.    Plaintiff has never held an account with Sprint nor does Plaintiff have an

unresolved debt with Sprint.

      28.    Plaintiff is a customer of T-Mobile US who merged with Sprint in 2020.

      29.    Plaintiff contacted T-Mobile US for information regarding any debt owed to

Sprint and T-Mobile US had no record of a delinquent account in Plaintiff’s name.

      30.    It is not accurate and it is misleading for Defendant JCS to report a balance due

on an account never held by Plaintiff.

      31.    The false information regarding the Account appearing on Plaintiff’s consumer

reports harms Plaintiff because it does not accurately depict Plaintiff’s credit history and

creditworthiness.

      32.    Defendants Equifax and TransUnion published the false information regarding

the Account to third parties.

                                PLAINTIFF’S WRITTEN DISPUTE

      33.    In or about September 2024, Plaintiff sent a written dispute to Defendant Equifax

(“Equifax Dispute”), disputing the inaccurate information regarding the Account reporting on

Plaintiff’s Equifax consumer report.

      34.    In or about September 2024, Plaintiff sent a written dispute to Defendant

TransUnion (“TransUnion Dispute”), disputing the inaccurate information regarding the

Account reporting on Plaintiff’s TransUnion consumer report.




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      35.     Upon information and belief, Defendants Equifax and TransUnion forwarded

Plaintiff’s Equifax Dispute and TransUnion Dispute (collectively the “Dispute Letters”) to

Defendant JCS.

      36.     Upon information and belief, Defendant JCS received notification of Plaintiff’s

Dispute Letters from Defendants Equifax and TransUnion.

      37.     Upon information and belief, Defendant JCS verified the erroneous information

associated with the Account to Defendants Equifax and TransUnion.

      38.     Defendant JCS did not conduct an investigation, contact Plaintiff, contact third

parties, or review underlying account information with respect to the disputed information and

the accuracy of the Account.

      39.     Defendant Equifax did not conduct an investigation, contact Plaintiff, contact

third parties, or review underlying account information with respect to the disputed information

and the accuracy of the Account.

      40.     Defendant TransUnion did not conduct an investigation, contact Plaintiff, contact

third parties, or review underlying account information with respect to the disputed information

and the accuracy of the Account.

      41.     Upon information and belief, Defendant JCS failed to instruct Defendants Equifax

and TransUnion to remove the false information regarding the Account reporting on Plaintiff’s

consumer reports.

      42.     Defendants Equifax and TransUnion employed an investigation process that was

not reasonable and did not remove the false information regarding the Account identified in

Plaintiff’s Dispute Letters.

      43.     At no point after receiving the Dispute Letters did Defendants JCS, Equifax,

and/or TransUnion communicate with Plaintiff to determine the veracity and extent of

Plaintiff’s Dispute Letters.




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      44.    Defendants Equifax and TransUnion relied on their own judgment and the

information provided to them by Defendant JCS, rather than grant credence to the information

provided by Plaintiff.

                                     COUNT I – EQUIFAX

              FAIR CREDIT REPORTING ACT VIOLATION – 15 U.S.C. §1681e(b)

      45.    Plaintiff re-alleges and reaffirms the above paragraphs as though fully set forth

herein.

      46.    After receiving the Equifax Dispute, Defendant Equifax failed to correct the false

information regarding the Account reporting on Plaintiff’s Equifax consumer report.

      47.    Defendant Equifax violated 15 U.S.C. §1681e(b) by failing to establish or to

follow reasonable procedures to assure maximum possible accuracy in the preparation of the

credit reports and credit files Equifax published and maintained concerning Plaintiff.

      48.    As a result of this conduct, action, and/or inaction of Defendant Equifax, Plaintiff

suffered damage, and continues to suffer, actual damages, including economic loss, damage to

reputation, emotional distress, and interference with Plaintiff’s normal and usual activities for

which Plaintiff seeks damages in an amount to be determined by the trier of fact.

      49.    Defendant Equifax’s conduct, action, and inaction were willful, thereby rendering

Equifax liable to Plaintiff for punitive damages pursuant to 15 U.S.C. §1681n.

      50.    In the alternative, Defendant Equifax was negligent, thereby entitling Plaintiff to

recover damages under 15 U.S.C. §1681o.

      51.    Plaintiff is entitled to recover costs and attorneys’ fees from Defendant Equifax,

pursuant to 15 U.S.C. §1681n and/or §1681o.




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                                       COUNT II – EQUIFAX

                FAIR CREDIT REPORTING ACT VIOLATION – 15 U.S.C. §1681i

      52.     Plaintiff re-alleges and reaffirms the above paragraphs as though fully set forth

herein.

      53.     After receiving the Equifax Dispute, Defendant Equifax failed to correct the false

information regarding the Account reporting on Plaintiff’s Equifax consumer report.

      54.     Defendant Equifax violated 15 U.S.C. §1681i by failing to delete inaccurate

information in Plaintiff’s credit files after receiving actual notice of such inaccuracies, by failing

to conduct lawful reinvestigations, and by failing to maintain reasonable procedures with which

to filter and verify disputed information in Plaintiff’s credit files.

      55.     As a result of this conduct, action and/or inaction of Defendant Equifax, Plaintiff

suffered damage, and continues to suffer, actual damages, including economic loss, damage to

reputation, emotional distress and interference with Plaintiff’s normal and usual activities for

which Plaintiff seeks damages in an amount to be determined by the trier of fact.

      56.     Defendant Equifax’s conduct, action, and inaction were willful, thereby rendering

Equifax liable to Plaintiff for punitive damages pursuant to 15 U.S.C. §1681n.

      57.     In the alternative, Defendant Equifax was negligent, thereby entitling Plaintiff to

recover damages under 15 U.S.C. §1681o.

      58.     Plaintiff is entitled to recover costs and attorneys’ fees from Defendant Equifax

pursuant to 15 U.S.C. §1681n and/or §1681o.

                                    COUNT III – TRANSUNION

              FAIR CREDIT REPORTING ACT VIOLATION – 15 U.S.C. §1681e(b)

      59.     Plaintiff re-alleges and reaffirms the above paragraphs as though fully set forth

herein.




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       60.     After receiving the TransUnion Dispute, Defendant TransUnion failed to correct

 the false information regarding the Account reporting on Plaintiff’s consumer report.

       61.     Defendant TransUnion violated 15 U.S.C. §1681e(b) by failing to establish or to

 follow reasonable procedures to assure maximum possible accuracy in the preparation of the

 credit reports and credit files TransUnion published and maintained concerning Plaintiff.

       62.     As a result of this conduct, action and/or inaction of Defendant TransUnion,

 Plaintiff suffered damage, and continues to suffer, actual damages, including economic loss,

 damage to reputation, emotional distress, and interference with Plaintiff’s normal and usual

 activities for which Plaintiff seeks damages in an amount to be determined by the trier of fact.

       63.     Defendant TransUnion’s conduct, action, and inaction were willful, thereby

 rendering TransUnion liable to Plaintiff for punitive damages pursuant to 15 U.S.C. §1681n.

       64.     In the alternative, Defendant TransUnion was negligent, thereby entitling Plaintiff

 to recover damages under 15 U.S.C. §1681o.

       65.     Plaintiff is entitled to recover costs and attorneys’ fees from Defendant

 TransUnion, pursuant to 15 U.S.C. §1681n and/or §1681o.

                                     COUNT IV – TRANSUNION
                 FAIR CREDIT REPORTING ACT VIOLATION – 15 U.S.C. §1681i

       66.     Plaintiff re-alleges and reaffirms the above paragraphs as though fully set forth

 herein.

       67.     After receiving the TransUnion Dispute, Defendant TransUnion failed to correct

 the false information regarding the Account reporting on Plaintiff’s consumer report.

       68.     Defendant TransUnion violated 15 U.S.C. §1681i by failing to delete inaccurate

 information in Plaintiff’s credit files after receiving actual notice of such inaccuracies, by failing

 to conduct lawful reinvestigations, and by failing to maintain reasonable procedures with which

 to filter and verify disputed information in Plaintiff’s credit files.




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       69.    As a result of this conduct, action and/or inaction of Defendant TransUnion,

 Plaintiff suffered damage, and continues to suffer, actual damages, including economic loss,

 damage to reputation, emotional distress and interference with Plaintiff’s normal and usual

 activities for which Plaintiff seeks damages in an amount to be determined by the trier of fact.

       70.    Defendant TransUnion’s conduct, action, and inaction were willful, thereby

 rendering TransUnion liable to Plaintiff for punitive damages pursuant to 15 U.S.C. §1681n.

       71.    In the alternative, Defendant TransUnion was negligent, thereby entitling Plaintiff

 to recover damages under 15 U.S.C. §1681o.

                                         COUNT V – JCS
              FAIR CREDIT REPORTING ACT VIOLATION – 15 U.S.C. §1681s-2(b)

       72.    Plaintiff re-alleges and reaffirms the above paragraphs as though fully set forth

 herein.

       73.    After receiving the Dispute Letters, Defendant JCS failed to correct the false

 information regarding the Account’s reporting on Plaintiff’s consumer reports.

       74.    Defendant JCS violated 15 U.S.C. §1681s-2(b) by failing to fully and properly

 investigate Plaintiff’s disputes of Defendant JCS’s representations; by failing to review all

 relevant information regarding Plaintiff’s disputes; by failing to accurately respond to credit

 reporting agencies; by verifying false information; and by failing to permanently and lawfully

 correct its own internal records to prevent the re-reporting of Defendant JCS’s representations

 to consumer credit reporting agencies, among other unlawful conduct.

       75.    As a result of this conduct, action, and/or inaction of Defendant JCS, Plaintiff

 suffered damages, and continues to suffer, actual damages, including economic loss, damage to

 reputation, emotional distress, and interference with Plaintiff’s normal and usual activities for

 which Plaintiff seeks damages in an amount to be determined by the trier of fact.




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       76.    Defendant JCS’s conduct, action, and/or inaction were willful, thereby rendering

 Defendant JCS liable to Plaintiff for punitive damages pursuant to 15 U.S.C. §1681n.

       77.    In the alternative, Defendant JCS was negligent, thereby entitling Plaintiff to

 recover damages under 15 U.S.C. §1681o.

       78.    Plaintiff is entitled to recover costs and attorneys’ fees from Defendant JCS

 pursuant to 15 U.S.C. §1681n and/or 15 U.S.C. §1681o.

                                           COUNT VI – JCS

              Fair Debt Collection Practices Act Violation – 15 U.S.C. § 1692e

       79.    Plaintiff realleges and reaffirms the above paragraphs as though fully set forth

 herein.

       80.    Congress enacted the FDCPA to “eliminate abusive debt collection practices, to

 ensure that debt collectors who abstain from such practices are not competitively

 disadvantaged, and to promote consistent state action to protect consumers.” Jerman v. Carlisle,

 McNellie, Rini, Kramer & Ulrich LPA, 559 U.S. 573, 577 (2010) (citing 15 U.S.C. § 1692(e)).

       81.    “The FDCPA is a strict liability statute to the extent it imposes liability without

 proof of an intentional violation.” Allen ex rel. Martin v. LaSalle Bank, N.A., 629 F.3d 364,

 368 (3d Cir. 2011).

       82.    “It is a remedial statute that we ‘construe . . . broadly, so as to effect its purpose.’”

 Rosenau v. Unifund Corp., 539 F.3d 218, 221 (3d Cir. 2008) (quoting Brown v. Card Serv. Ctr.,

 464 F.3d 450, 453 (3d Cir. 2006)).




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       83.      More broadly, the FDCPA was enacted in order to eliminate abusive debt

 collection practices, which contribute to the number of personal bankruptcies, marital

 instability, loss of employment, and invasions of privacy as well as ensure that debt collectors

 who refrain from using such practices are not competitively disadvantaged. See, e.g., 15 U.S.C.

 § 1692(a), (e); Lesher v. Law Offices of Mitchell N. Kay, PC, 650 F.3d 993, 996 (3d Cir.2011);

 Wilson, 225 F.3d at 354.

       84.    “[C]ourts have analyzed the statutory requirements [of the FDCPA] ‘from the

 perspective of the least sophisticated debtor.’ This standard is less demanding than one that

 inquires whether a particular debt collection communication would mislead or deceive a

 reasonable debtor.” Campuzano-Burgos v. Midland Credit Management, Inc., 550 F.3d 294,

 298 (3d Cir. 2008) (quoting Rosenau, 539 F.3d at 221).

       85.    “The basic purpose of the least-sophisticated [debtor] standard is to ensure that

 the FDCPA protects all consumers, the gullible as well as the shrewd. This standard is

 consistent with the norms that courts have traditionally applied in consumer-protection law.”

 Caprio v. Healthcare Revenue Recovery Grp., LLC, 709 F.3d 142, 148-49 (3d Cir. 2013)

 (quoting Lesher, 650 F.3d at 997).

       86.    The FDCPA creates a broad, flexible prohibition against the use of misleading,

 deceptive, or false representations in the collection of debts. See 15 U.S.C. § 1692e; Hamilton

 v. United Healthcare of Louisiana, Inc., 310 F.3d 385, 392 (5th Cir. 2002) (citing legislative

 history reference to the FDCPA’s general prohibitions which “will enable the courts, where

 appropriate, to proscribe other improper conduct which is not specifically addressed”).

       87.    Included as an example of conduct that violates section 1692e is the false

 representation of the character, amount, or legal status of a debt. 15 U.S.C. § 1692e(2)(A).




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        88.     Thus, the plain language of the FDCPA makes it clear that under the strict liability

 framework, any false representation as to the amount of the debt is sufficient to show a violation

 of the FDCPA. See Randolph v. IMBS, Inc., 368 F.3d 726, 730 (7th Cir. 2004) (“§ 1692e(2)(A)

 creates a strict-liability rule. Debt collectors may not make false claims, period.”); see also

 Turner v. J.V.D.B. & Associates, Inc., 330 F.3d 991, 995 (7th Cir. 2003) (“under § 1692e

 ignorance is no excuse”).

        89.     Under the same general prohibition of false, misleading, or deceptive debt

 collection practices, the FDCPA prohibits a debt collector from “[c]ommunicating or

 threatening to communicate to any person credit information which is known or which should

 be known to be false. . . .” 15 U.S.C. § 1692e(8).

        90.     Defendant JCS violated 15 U.S.C. § 1692e by using false, deceptive, or

 misleading representations or means in connection with the collection of the Account, including

 by reporting false information to the credit reporting agencies concerning Plaintiff, and by

 failing to correct the false information once disputed.

                                       DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs demand trial by jury

in this action of all issues so triable.

                                           PRAYER FOR RELIEF

        WHEREFORE, Plaintiff seeks a reasonable and fair judgment against Defendants JCS,

 TransUnion, and Equifax, jointly and severally, for willful noncompliance with the Fair Credit

 Reporting Act and seeks statutory remedies as defined by 15 U.S.C. § 1681 and demands:

     A. Actual damages to be proven at trial, or statutory damages pursuant to 15 U.S.C. §

          1681n(a)(1)(A), of not less than $100 and not more than $1,000 per violation;

     B. Punitive damages, pursuant 15 U.S.C. § 1681n(a)(2), for Defendants’ willful violations;




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    C. The costs of instituting this action together with reasonable attorney’s fees incurred by

        Plaintiff pursuant to 15 U.S.C. § 1681n(a)(3); and

    D. Any further legal and equitable relief as the court may deem just and proper in the

        circumstances.


       WHEREFORE, Plaintiff seeks a reasonable and fair judgment against Defendant JCS for

noncompliance with the Fair Debt Collection Practices Act and seeks remedies as defined by 15

U.S.C. § 1692 and demands:

   A. An adjudication that JCS violated 15 U.S.C. § 1692e;

   B. Plaintiff’s statutory damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A), in the amount of

       $1,000.00;

   C. Plaintiff’s actual damages to be proven at trial, pursuant to 15 U.S.C. § 1692k(a)(1);

   D. Plaintiff’s reasonable attorneys’ fees and costs incurred in this action pursuant to 15 U.S.C.

       § 1692k(a)(3);



Respectfully submitted November 1, 2024.


                                                 /s/ Matthew G. Bagley
                                                 Matthew G. Bagley




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